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                      United States District Court
                         District of Columbia




United States of America                    )
                                            )
vs.                                         ) Case No. 1:22-CR-00038-BAH
                                            )
Jolene Eicher                               )




                       Notice of Public-Authority Defense
                    – Federal Rule of Criminal Procedure 12.3




           “Big Protest in D.C. on January 6th. Be there, will be wild!”

                                      Title of Chapter 6, Final Report of the Select
                                      Committee to Investigate the January 6th
                                      Attack on the United States Capitol (quoting
                                      from a tweet of the 45th President of the
                                      United States).




Matthew Hill
Assistant Federal Public Defender
201 Abingdon Pl
Suite 201
Abingdon, VA 24210
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        Jolene Eicher notifies the Court and the Government that she may rely on

the defense of public-authority. Federal Rule of Criminal Procedure 12.3. This

defense is based on her belief that any actions she might take on January 6, 2021 in

and around the capitol building were authorized by the then President of the United

States. This apparent authority applied to this Defendant for all of January 6,

2021.

        The actions of the 45th President which may support this defense include his

statements made on the Ellipse on January 6, 2021 as well as his many statements,

speeches, and online posts between November 3, 2020 and that date. Those

statements and other actions resulted in an investigation by a select committee of

the United States House of Representatives wherein that committee suggested to

the Department of Justice that they pursue criminal charges of the 45th President

for his actions surrounding January 6, 2021. As that committee stated in their

executive summary:

        In his speech from the Ellipse on January 6th, President Trump
        recited a host of election fraud allegations he knew to be false, and
        then told tens of thousands of his angry supporters this: And fraud
        breaks up everything, doesn’t it? When you catch somebody in a fraud,
        you’re allowed to go by very different rules. So I hope Mike has the
        courage to do what he has to do. And I hope he doesn’t listen to the
        RINOs and the stupid people that he’s listening to. The meaning of
        President Trump’s comments was sufficiently clear then, but he
        recently gave America an even more detailed understanding of his
        state of mind. Trump wrote that allegations of “massive fraud” related
        to the 2020 election “allow[] for the termination of all rules, regulations
        and articles, even those found in the Constitution.” And President
        Trump considered pardoning those involved in the attack and has
        since expressed a desire to pardon them—and even give them an
        apology—if he returns to the Oval Office.
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U.S. House Select Committee to Investigate the January 6th Attack on the

United States Capitol 117th Congress Second Session, House Report 117-663.

p. 113 (internal footnotes omitted).

       Further, the 45th President was impeached by the United States House of

Representatives for his actions on and leading up to January 6, 2021. In part the

article of impeachment reads:

       On January 6, 2021, pursuant to the 12th Amendment to the
       Constitution of the United States, the Vice President of the United
       States, the House of Representatives, and the Senate met at the
       United States Capitol for a Joint Session of Congress to count the votes
       of the Electoral College. In the months preceding the Joint Session,
       President Trump repeatedly issued false statements asserting that the
       Presidential election results were the product of widespread fraud and
       should not be accepted by the American people or certified by State or
       Federal officials. Shortly before the Joint Session commenced,
       President Trump, addressed a crowd at the Ellipse in Washington, DC.
       There, he reiterated false claims that “we won this election, and we
       won it by a landslide”. He also willfully made statements that, in
       context, encouraged—and foreseeably resulted in—lawless action at
       the Capitol, such as: “if you don’t fight like hell you’re not going to have
       a country anymore”. Thus incited by President Trump, members of the
       crowd he had addressed, in an attempt to, among other objectives,
       interfere with the Joint Session’s solemn constitutional duty to certify
       the results of the 2020 Presidential election, unlawfully breached and
       vandalized the Capitol, injured and killed law enforcement personnel,
       menaced Members of Congress, the Vice President, and Congressional
       personnel, and engaged in other violent, deadly, destructive, and
       seditious acts.

117th Congress, 1st Session United States House of Representatives Resolution 24. 1

       Still further, Attorney General Merrick Garland has appointed a special

counsel to investigate and consider prosecution of the 45th President for his actions



1Full text of the article of impeachment can be found at https://www.congress.gov/bill/117th-
congress/house-resolution/24/text (last visited April 18, 2023).
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to inspire and motivate individuals to take actions on and within the Capitol

building and grounds on January 6, 2021. 2

                                                     Respectfully Submitted,
                                                     Jolene Eicher
                                                     By Counsel

                                                     JUVAL O. SCOTT
                                                     Federal Public Defender
                                                     Western District of Virginia

                                                     Matthew Hill
                                                     Assistant Federal Public Defender
                                                     Missouri State Bar No. 47889
                                                     New Hampshire State Bar No. 18864
                                                     Arkansas State Bar No. 2018170
                                                     Attorney for the defendant
                                                     Federal Public Defender’s Office
                                                     201 Abingdon Place
                                                     Abingdon, VA 24211
                                                     Telephone: (276) 619-6086
                                                     Fax: (276) 619-6090
                                                     matt_hill@fd.org

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      The undersigned hereby certifies that this document was filed electronically
and a copy will automatically be sent to all counsel of record by the CM/ECF
system.

                                                     /s/ Matthew Hill




2Order appointing John L. Smith as Special Counsel https://www.justice.gov/opa/press-
release/file/1552896/download (last visited April 18, 2023).
